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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
STEVEN NACHSHEN,                                                      :

                                       Plaintiff,                    :
                                                                                   SEALING ORDER
                   - against -                                       :

ESRT 10 UNION SQUARE, L.L.C. AND                                     :             19-CV-10318 (ALC)(KNF)
STARBUCKS CORPORATION,
                                                                      :
                                        Defendants.
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         Counsel to the plaintiff made a request, Docket Entry No. 61, that, inter alia, a letter

appearing at Docket Entry No. 61-1 be sealed, owing to confidential information contained in that

letter; the defendants do no oppose the request. The request is granted. The Clerk of Court is

directed to modify the viewing level for the sealed letter appearing at Docket Entry No. 61-1 to the

Selected Parties viewing level. Only counsel to the parties, the Court, its law clerks, courtroom

deputy and judicial assistant are permitted to view the document. The plaintiff shall file a redacted

version of the sealed document with the Clerk of Court expeditiously, so that the public may access

the redacted document. This order resolves Docket Entry No. 61.

Dated: New York, New York                                            SO ORDERED:
       January 11, 2021
